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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT


In the Matter of the Extradition of                   )                 Case No. 3:20-mc-00068 (WIG)
                                                      )
Piotr Jan Grabowski a/k/a “Walerek”                   )                 November 3, 2020

                             GOVERNMENT’S OPPOSITION TO BAIL
                             PENDING EXTRADITION PROCEEDINGS

         The United States respectfully submits this memorandum opposing Piotr Jan Grabowski’s

Motion for Release on Bail (“Motion for Bail”). Grabowski’s Motion for Bail should be denied

because he cannot overcome the strong presumption against bail in international extradition cases.

He cannot meet his burden of showing that he poses no risk of flight or danger to the community,

and that special circumstances warrant his release.

                                               BACKGROUND 1

         According to information the Government of Poland has provided:

         On October 3, 2001, the Provincial Court in Rzeszów, Poland, convicted Grabowski of

(1) rape, in violation of Article 197 § 3 of the Polish Penal Code; and (2) participating in a brawl

or beating leading to injury. The Polish court sentenced him to 2 years and 6 months imprisonment

and credited about four-and-a-half months that Grabowski had already spent in custody. On

December 20, 2001, the Court of Appeals in Rzeszów affirmed the judgment. On May 19, 2003,

after Grabowski failed to appear at the penal institution to serve his sentence, the Provincial Court

in Rzeszów issued a warrant for his arrest. At a date unknown—because Grabowski is suspected

to have entered the United States illegally—Grabowski fled Poland for the United States.


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 A fuller recitation of the background facts is set forth in the Government’s Memorandum of Extradition Law and
Request for Detention Pending Extradition Proceedings. Doc. 6. This opposition memorandum will not repeat the
full background facts found already provided to the Court, nor will it repeat the exposition on the legal framework of
extradition proceedings found there; rather, this memorandum focuses on responding to Grabowski’s Motion for
Bail.
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Grabowski was arrested by the United States Marshals Service on August 28, 2020, at the request

of the Government of Poland, based on a complaint and arrest warrant issued by U.S. Magistrate

Judge Sarah A. L. Merriam. See Doc. Nos. 1, 2. Grabowski is currently detained.

                                           ARGUMENT

I.     LEGAL FRAMEWORK OF EXTRADITION PROCEEDINGS

       Courts have a limited role in international extradition proceedings as international

extradition is primarily an executive function. See 18 U.S.C. § 3184. Pursuant to 18 U.S.C. §

3184, the judicial officer’s inquiry is confined to whether (1) the judicial officer is authorized to

conduct the extradition proceeding; (2) the Court has jurisdiction over the fugitive; (3) the

applicable extradition treaty is in full force and effect; (4) the treaty covers the offenses for which

extradition is; and (5) there is sufficient evidence to support a finding of probable cause as to the

offenses for which extradition is sought. See id.; Fernandez v. Phillips, 268 U.S. 311, 312 (1925).

“If the judicial officer answers these questions in the affirmative, he or she ‘shall certify’ the

extraditability of the fugitive to the Secretary of State.” Cheung v. United States, 213 F.3d 82, 88

(2d Cir. 2000) (quoting 18 U.S.C. § 3184). After a court certifies a fugitive as extraditable, the

Secretary of State decides whether the fugitive will be surrendered to the requesting country. See

18 U.S.C. §§ 3184, 3186.

       A certification of extraditability is properly based on the authenticated documentary

evidence and information that the requesting government has provided. See, e.g., United States v.

Amabile, 14-M-1043, 2015 WL 4478466, at *9 (E.D.N.Y. July 16, 2015) (stating that “the

certificate of extradition may be based on written statements provided by a foreign prosecutor,




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investigator or judge”). Extradition treaties do not require, or even anticipate, the testimony of

live witnesses at the hearing. See, e.g., Bingham v. Bradley, 241 U.S. 511, 517 (1916).

        The fugitive’s defenses in an extradition proceeding are heavily circumscribed. See, e.g.,

Yapp v. Reno, 26 F.3d 1562, 1565 (11th Cir. 1994) (no Sixth Amendment Right to a speedy trial);

In re Extradition of McMullen, 989 F.2d 603, 612-13 (2d Cir. 1993) (no Fifth Amendment

guarantee against double jeopardy with respect to successive extradition proceedings); Simmons

v. Braun, 627 F.2d 635, 636-37 (2d Cir. 1980) (no exclusionary rule); Bingham, 241 U.S. at 517

(no right to cross examination or invoke defenses that “savor of technicality”); Charlton v. Kelly,

229 U.S. 447, 461 (1913) (no right to introduce affirmative defenses); Messina v. United States,

728 F.2d 77, 80 (2d Cir. 1984) (no discovery rights). Furthermore, “[i]n the exercise of the

extraditing judge’s discretion, a fugitive may be permitted to offer explanatory testimony, but may

not offer proof which contradicts that of the demanding country.” Id. Accordingly, “evidence of

alibi or of facts contradicting the demanding country’s proof or of a defense such as insanity may

properly be excluded from the Magistrate’s hearing.” Shapiro v. Ferrandina, 478 F.2d 894, 901

(2d Cir. 1973). “[S]tatements [that] would in no way explain . . . or . . . obliterate the government’s

evidence, but would only pose a conflict of credibility . . . should properly await trial in [the country

seeking extradition].” Id. at 905 (internal quotation marks omitted).

        Finally, all matters a fugitive might raise as defenses to extradition, other than those related

to the requirements for certification, are to be considered by the Secretary of State, not by the

Court. See 18 U.S.C. §§ 3184, 3186. This is consistent with the long-held understanding that the

surrender of a fugitive to a foreign government is “purely a national act . . . performed through the




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Secretary of State.” See In re Kaine, 55 U.S. 103, 110 (1852); see also, e.g., Ahmad v. Wigen, 910

F.2d 1063, 1066-67 (2d Cir. 1990).

II.     GRABOWSKI’S MOTION FOR BAIL SHOULD BE DENIED

        Bail should be granted in an extradition proceeding “only in the most pressing

circumstances, and when the requirements of justice are absolutely peremptory.” United States v.

Leitner, 784 F.2d 159, 160 (2d Cir. 1986) (quoting In re Mitchell, 171 F. 289, 289 (S.D.N.Y. 1909)

(Hand, J.). The federal statutes governing extradition in the United States, 18 U.S.C. §§ 3181 et

seq., do not provide for bail. Further, the Bail Reform Act, 18 U.S.C. §§ 3141 et seq., does not

apply because an extradition proceeding is not a criminal prosecution. See, e.g., Austin v. Healey,

5 F.3d 598, 603 (2d Cir. 1993). Rather, in extradition proceedings, there is a strong presumption

against bail. Bail should be granted if, and only if, the subject of the extradition proceedings can

show that he is not a flight risk, that he is not a danger to the community, and that special

circumstances exist that warrant release. Grabowski has not met any of these qualifications, much

less all three.

        A.        Applicable law

                  1.        A strong presumption against bail governs in an international extradition
                            proceeding

        Unlike         in   domestic    criminal    cases,   courts   have    long   recognized    a

“presumption against bail in extradition cases.” Id.; see In re Extradition of Rovelli, 977 F. Supp.

566, 567 (D. Conn. 1997) (“There is a strong, and longstanding, presumption against bail in

international extradition proceedings.”) (citing Wright v. Henkel, 190 U.S. 40 (1903)); see also,

e.g., In re Extradition of Martinelli Berrocal, 263 F. Supp. 3d 1280, 1284 (S.D. Fla. 2017) (“[T]his

is not a criminal case where bail would ordinarily be granted.”). The Supreme Court established

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this presumption against bail in Wright, explaining that when a foreign government makes a proper

request pursuant to a valid extradition treaty, the United States is obligated to deliver the person

sought after he or she is apprehended:

       The demanding government, when it has done all that the treaty and the law require
       it to do, is entitled to the delivery of the accused on the issue of the proper warrant,
       and the other government is under obligation to make the surrender; an obligation
       which it might be impossible to fulfill if release on bail were permitted. The
       enforcement of the bond, if forfeited, would hardly meet the international demand;
       and the regaining of the custody of the accused obviously would be surrounded
       with serious embarrassment.

190 U.S. at 62.

       The prudential reasons for this presumption against bail in international extradition cases

are clear and compelling. When, as here, Poland meets the conditions of the Treaty, the United

States has an “overriding interest in complying with its treaty obligations” to deliver the fugitive.

In Re Extradition of Garcia, 615 F. Supp. 2d 162, 166 (S.D.N.Y. 2009); see also Wright, 190 U.S.

at 62. It is important that the international community regard the United States as a country that

honors its agreements, so that the United States will be in a position to demand that other nations

meet their reciprocal obligations to the United States. See e.g., Martinelli, 263 F. Supp. 3d at 1294

(“No amount of money could answer the damage that would be sustained by the United States

were the appellant to be released on bond, flee the jurisdiction, and be unavailable for surrender,

if so determined.”) (quoting Jimenez v. Aristiguieta, 314 F.2d 649, 653 (5th Cir. 1963)). Such

reciprocity would be defeated if a fugitive flees after being released on bond. Given the United

States’ overriding interest, and the presumption against bail, “release on bail in extradition cases

should be an unusual and extraordinary thing.” Borodin v. Ashcroft, 136 F. Supp. 2d 125, 128

(E.D.N.Y. 2001) (internal quotation marks and citations omitted).


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                  2.       Fugitives must be detained unless they establish “special circumstances”
                           and also demonstrate that they are neither a flight risk nor a danger to the
                           community

         In light of the strong presumption against bail established in Wright, fugitives may not be

released on bail unless they meet their burden of establishing (1) that they are not a flight risk or a

danger to the community and (2) that “special circumstances” warrant their release. See, e.g.,

Leitner, 784 F.2d at 160; Martinelli, 263 F. Supp. 3d at 1292 (“For over a hundred years . . . circuit

and district courts have . . . applied the ‘special circumstances’ test for bail determinations in

extradition cases”). 2 “This ‘special circumstances’ standard is much stricter than the ‘reasonable

assurance’ of appearance standard made applicable to domestic criminal proceedings by the Bail

Reform Act.” In re Extradition of Kin-Hong, 913 F. Supp. 50, 53 (D. Mass. 1996).

         Crucially, the special circumstances inquiry is separate from considering danger to the

community or risk of flight. See Rovelli, 977 F. Supp. at 568 (“[The fugitive] must demonstrate

not merely that he is not a flight risk, but that special circumstances exist which justify his being

admitted to bail.”) (citations omitted). “Even a low risk of flight” is not a circumstance sufficiently

“unique” to constitute a special circumstance. Leitner, 784 F.2d at 161; see also, e.g., Borodin,

136 F. Supp. 2d at 130 (citing cases). Conversely, a fugitive who poses a danger to the community

or a risk of flight should be denied bail, even in the face of special circumstances.




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  Several courts have required fugitives to meet this burden with clear and convincing evidence, reasoning that the
presumption against bail in extradition cases justifies a heightened standard of proof, see, e.g., In re Extradition of
Patel, 08-mj-430, 2008 WL 941628, at *1 (D. Or. Apr. 4, 2008); In re Extradition of Mainero, 950 F. Supp. 290, 294
(S.D. Cal. 1996); others have applied a preponderance of the evidence standard, see, e.g., Extradition of Santos, 473
F. Supp. 2d 1030, 1035 n.4 (C.D. Cal. 2006); and still other courts have found it unnecessary to resolve the issue
because of the difficulty of satisfying either standard. See, e.g., Perez-Cueva, 16-0233, 2016 WL 884877, at *2 (C.D.
Cal. Mar. 7, 2016).


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        Special circumstances must be extraordinary and not factors applicable to all defendants

facing extradition. See, e.g., Extradition of Smyth, 976 F.2d 1535, 1535-36 (9th Cir. 1992)).

Courts generally determine special circumstances to exist based on a confluence of factors, as

opposed to any single consideration. See In re Sacirbegovic, 280 F. Supp. 2d 81, 88 (S.D.N.Y.

2003) (collecting cases). Such findings are highly case-specific and within the Court’s discretion,

mindful of the strong presumption against bail and future reciprocity of other countries at stake.

       B.      Analysis

       The Court should deny bail because Grabowski poses a flight risk and a danger to the

community, and because he fails to show special circumstances that overcome the strong

presumption against bail. Grabowski’s Motion for Bail attempts to concoct special circumstances,

but fails to assert any such circumstances that would differentiate him from other fugitives.

Grabowski’s limited argument that he is not a flight risk ignores his nearly two decades of evading

justice and his flight of over 4,000 miles to avoid prison time. And despite having the burden to

show that he is not a danger to the community, Grabowski makes no argument whatsoever

regarding this requirement.

               1.      Grabowski’s history as a post-conviction fugitive demonstrates clearly that
                       he is a flight risk

       Grabowski poses a significant flight risk as evidence by his history of failing to appear and

evading justice. Grabowski fled Poland not just after the filing of charges, but rather after he was

convicted and sentenced, and after his sentence was affirmed on appeal. He was well aware of the

charges, conviction, and the term of imprisonment he faced. Rather than serve the approximately

two years of incarceration he had remaining, Grabowski chose to leave the country of his birth and

leave his family. To avoid prison time, he fled 4,000 miles and has refused to surrender to Poland

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to serve his sentence. Grabowski’s flight from justice after being convicted and sentenced for the

crimes underlying this extradition request evidences that he poses a significant flight risk should

he be released on bail.

       In his Motion for Bail, Grabowski admits that he has been living in the United States for

years and posits that he is not a flight risk because if he “was going to flee this country, he would

have done so a long time ago.” Mot. for Bail at 17. Grabowski’s argument is based on the faulty

premises that he “did nothing to hide for 17 years” and that the “extradition request did not come

as a surprise to anyone.” Id. In fact, Grabowski did hide by leaving Poland and travelling 4,000

miles to avoid imprisonment. As such, he was far removed from anyone who may have known

about his crime, charge, conviction, and sentence and had no need to hide in the United States.

       Additionally, Grabowski was distanced from the conviction not only physically but also

temporally. He likely came to believe that his outstanding term of imprisonment was long

forgotten. Grabowski, now aware that Poland seeks his extradition from the United States, has

strong incentive to flee further, whether to a third country – potentially one that may not have an

extradition treaty with Poland – or to an underground location within the United States.

       Moreover, as noted above, the upcoming extradition proceedings have limited scope and

afford Grabowski few rights, and the government’s burden to establish extraditability is relatively

light. See, e.g., In re Extradition of Garcia, 761 F. Supp. 2d 468, 483 (S.D. Tex. 2010) (finding

that a fugitive has “virtually no incentive to appear at his extradition hearing, where, due to the

Government’s low burden of proof,” he faces significant risk of extradition); In re Extradition of

Adame, Misc. H-13-287, 2013 U.S. Dist. LEXIS 41682, at *7-8 (S.D. Tex. Mar. 25, 2013) (same);

see also, e.g., In re Extradition of Shaw, No. 14–MC–81475, 2015 WL 521183, at *9 (S.D. Fla.


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Feb. 6, 2015) (“[T]he [fugitive] is facing serious criminal sanctions in Thailand, which fact

provides him with a strong incentive to flee.”). Given the applicable standard in the extradition

proceedings, Grabowski may seriously fear being returned to Poland to serve his sentence and thus

has incentive to flee.

        Grabowski also argues that he should be released on bail because of his current community

ties. Id. One imagines, however, that Grabowski had significant community ties in Poland –

including family, friends, church ties, etc. – before he fled that country and travelled over 4,000

miles away to avoid imprisonment.

        Grabowski’s proposed bond package would not guarantee his appearance. Grabowski’s

ability to pledge the equity in his home demonstrates that he possesses significant assets that he

can use in aid of further flight. Accordingly, no combination of bail conditions or promises can

ensure his appearance before this Court and the United States’ ability to fulfill its treaty obligations

to Poland. The flight risk Grabowski poses is, alone, fatal to any bail application.

                2.       Grabowski’s convictions for rape and for participating in a brawl or beating
                         leading to an injury render him a danger to the community

        Grabowski also poses a danger to the community, given the seriousness of his offenses.

The Polish court documents reflect that he stands convicted of raping and beating the victim

together with another assailant. Although Grabowski does not appear to have a criminal record

since his conviction for these violent crimes, neither has he spent time in prison nor otherwise

shown efforts at rehabilitation.

        Grabowski’s assertion that he has “has no criminal history whatsoever,” id. at 9, ignores

the violent crimes he committed, and for which he was convicted, in Poland. This violent criminal

record evidences that Grabowski is a danger to the community and renders bail inappropriate.

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               3.        No special circumstances exist warranting release on bail

       Grabowski presents six separate arguments for why special circumstances exist warranting

his release on bail. Despite this grab-bag approach, no individual circumstance asserted by

Grabowski, nor the combination of any of them, provides the requisite special circumstances

warranting relief. Grabowski’s assertions are wrong, not sufficiently unique to qualify as a special

circumstance, or both.

                         a.     Substantial likelihood of success against extradition is not a special
                                circumstance, nor can Grabowski demonstrate such a substantial
                                likelihood

       Grabowski asserts that a showing of a substantial likelihood of success against extradition

is a special circumstance justifying release on bail. Mot. for Bail at 6–8. Such claims are irrelevant

at a bond hearing. Moreover, even if the Court were to entertain the possibility that such a showing

could be deemed a special circumstance, Grabowski’s argument would nevertheless fail because

he is unable to make such a showing.

       Most courts hold that arguments regarding the substantive merits of an extradition request

are properly raised at the fugitive’s extradition hearing and are immaterial to the prior bail

determination. See United States v. Castaneda-Castillo, 739 F. Supp. 2d 49, 61 (D. Mass. 2010);

Sacirbegovic, 280 F. Supp. 2d at 88 (stating that probability of success against extradition is a

subject reserved for the extradition hearing); In re Extradition of Sidali, 868 F. Supp. 656, 658–59

(D.N.J. 1994) (stating that probability of success against extradition “relate[s] to whether [the

fugitive] should be extradited[,] not whether he should be released on bail”). Accordingly, the

Court should not entertain Grabowski’s substantive challenges to the merits of the extradition

request at this preliminary stage. See 18 U.S.C. § 3184 (providing that at the extradition hearing,


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the court will determine whether the evidence is “sufficient to sustain the charge under the

provisions of the proper treaty or convention”).

       To the extent outlier courts have considered, at the bail stage, the likelihood that a fugitive

will succeed on the merits, they mostly have required the fugitive to establish a “high” probability

of success, not just a substantial likelihood. See, e.g., Kin-Hong v. United States, 83 F.3d 523,

524-25 (1st Cir. 1996) (noting that “courts have held that [special] circumstances may . . . include

the raising of substantial claims against extradition on which the [fugitive] has a high probability

of success,” but reversing order granting bail where, “[w]hile arguably [the fugitive] may

ultimately prevail in his challenges to his extradition, the record does not establish probability of

success one way or another) (emphasis added); Salerno v. United States, 878 F.2d 317, 317 (9th

Cir. 1989); Garcia, 615 F. Supp. 2d at 171; In re Extradition of Nacif-Borge, 829 F. Supp. 1210,

1216 (D. Nev. 1993) (finding no “high” probability of success).

       Grabowski is unable to show any likelihood of success, much less a high probability.

Assuming the judicial officer and court have jurisdiction to proceed, an extradition requires a

determination whether (1) the applicable extradition treaty is in full force and effect; (2) the treaty

covers offenses for which extradition is requested; and (3) there is sufficient evidence to support a

finding of probable cause as to those offenses. 18 U.S.C. § 3184. Grabowski disputes only the

last of these determinations. See Mot. for Bail at 6–8.

       At the extradition hearing, the court determines whether probable cause exists to believe

that the person before it committed the offenses underlying the extradition request – specifically,

whether there exists “evidence sufficient to sustain the charge under the provisions of the proper




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treaty.” 18 U.S.C. § 3184 (emphasis added). 3 Here, because Grabowski was convicted in Poland

after a trial for which he was present, the Polish judgment of conviction, which Poland’s

extradition request includes, is definitive evidence of probable cause. Article 9(4) of the Treaty

provides that where, as here, the extradition request pertains to a fugitive who already “has been

found guilty of the offense[s] for which extradition is sought,” the request must include “(a) a copy

of the warrant or order of arrest, if any . . . ; (b) a copy of the judgment of conviction or, if such

copy is not available, a statement by a judicial authority that the person has been found guilty; (c)

information establishing that the person sought is the person to whom the finding of guilt refers;

(d) a copy of the sentence imposed, if the person sought has been sentenced,” provided the foreign

proceedings were not “in absentia.” Treaty Art. 9(4) (emphasis added). 4

         The law is well-settled that a foreign conviction following a trial where the fugitive was

present establishes conclusive evidence of probable cause to certify extraditability. See, e.g.,

Spatola v. United States, 925 F.2d 615, 618 (2d Cir. 1991) (citing United States v. Clark, 470 F.

Supp. 976, 978 (D. Vt. 1979); In re Edmondson, 352 F. Supp. 22, 24 (D. Minn. 1972); Rest. (Third)

of Foreign Relations of the Law of the United States § 476 comment b (2013) (“[w]ith respect to

persons whose extradition is sought after conviction in the requesting state, the requirement [of



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  See, e.g., Cheung, 213 F.3d at 88. “[T]he function of the extraditing magistrate is not to decide guilt or innocence
but merely to determine whether there is ‘competent legal evidence which . . . would justify his apprehension and
commitment for trial if the crime had been committed in that state.’” Shapiro, 478 F.2d at 900-91 (quoting Collins v.
Loisel, 259 U.S. 309, 315 (1922)); see also, e.g., Austin, 5 F.3d at 603 (“[T]he order of extraditability expresses no
judgment on [the fugitive’s] guilt or innocence.”); Haxhiaj v. Hackman, 528 F. 3d 282, 287 (4th Cir. 2008) (“The
extradition hearing is not to serve as a full-blown trial and serves simply to permit a limited inquiry into the presence
of probable cause to believe that there has been a violation of one or more of the criminal laws of the extraditing
country.”) (internal quotation marks omitted).
4
  Article 9(3), in contrast, provides that an extradition request concerning a fugitive “sought for prosecution” must
include “(c) such information as would justify the committal for trial of the person if the offense had been committed
in the Requested State”.


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probable cause] is met by proof of the judgment of conviction and, where applicable, of

sentence.”)); Arias Leiva v. Warden, 928 F.3d 1281, 1294 (11th Cir. 2019) (finding that Colombia

satisfied treaty requirement by submitting copy of foreign judgment of conviction). This would

be so even if the Polish judgment of conviction merely recited the fact of conviction, though here,

the Polish jurisprudence also discusses in detail the evidence underlying the conviction.

       Moreover, the purported victim’s recantation that Grabowski attaches to his motion would

be inadmissible at the extradition hearing because he proffers it to contradict Poland’s submissions

and assert his innocence, not to explain Poland’s submissions or to challenge their competence.

See Charlton v. Kelly, 229 U.S. at 457–58; Ordinola v. Hackman, 478 F. 3d 588, 608–09 (4th Cir.),

cert. denied, 128 S. Ct. 373 (2007) (“[T]he alleged fugitive’s ability to challenge the government’s

evidence or to submit evidence of his own at the extradition hearing is . . . significantly limited.

For example, the fugitive has no right to introduce ‘contradictory evidence’ that conflicts with the

government’s probable cause evidence.”) (citation omitted).        A fugitive may not introduce

evidence in an effort to impeach the credibility of the foreign testimony against him. See, e.g.,

Bovio v. United States, 989 F.2d 255, 259 (7th Cir. 1993). Accordingly, recantations are likewise

generally inadmissible. See Santos v. Thomas, 830 F.3d 987, 1003 (9th Cir. 2016) (“Recanting

statements contest the credibility of the original statements, presenting a different version of the

facts or offering reasons why the government’s evidence should not be believed.”); Eain v. Wilkes,

641 F.2d 504, 511 (7th Cir. 1981) (upholding decision to exclude witness declarations recanting

prior testimony implicating fugitive in the crime, reasoning that “[t]he later statements do not

explain the government’s evidence, rather they tend to contradict or challenge the credibility of

the facts implicating [the fugitive]”).


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       U.S. extradition courts have been reluctant to consider recantation evidence where they

cannot assess the credibility of the recantation without a trial. United States v. Pena-Bencosme,

No. 05-MJ-1518 (SMG), 2007 WL 3231978, at *6 (E.D.N.Y. Oct. 30, 2007) (internal quotation

marks and citation omitted). The existence of evidence “contradicting or calling into question the

requesting state’s primary evidence ordinarily has no import as it does not vitiate or obliterate

probable cause, but rather merely ‘pose[s] a conflict of credibility’” that a U.S. extradition court is

not positioned to adjudicate. In re Pena-Bencosme, 341 F. App’x 681, 683 (2d Cir. 2009) (quoting

Shapiro, 478 F.2d at 905).

       Finally, even if the Court were to consider the material Grabowski proffers, probable cause

would remain. See, e.g., Hoxha v. Levi, 465 F.3d 554, 561 (3d Cir. 2006) (finding that court did

not err in excluding recantation evidence because recantation did not negate probable cause);

Escobedo v. United States, 623 F.2d 1098, 1102 n.13 (5th Cir. 1980). The victim’s recantation

was fully considered by the adjudicator in Poland and rejected. See Doc. No. 1-2 at 57–59.

       The Polish jurisprudence in the extradition request expressly recounts that the victim

recanted at trial, presenting a revised version of events more favorable to Grabowski, in which,

she claimed, Grabowski participated in dragging her into the house and held her arms down but

did not personally rape or assault her. See Doc. No. 1-2 at 57–59, 70–71. The Polish jurisprudence

also discusses in detail why the Polish trial court discredited this recantation at the trial and,

instead, credited the victim’s prior statements, from during the investigation, which more fully

inculpated Grabowski. It notes that (1) the victim made her previous statements in close proximity

to the incident, a mere one day afterwards (and, in fact several times); (2) the victim made the prior

statements during the investigation despite the doubt she expressed about whether to move to


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prosecute the assailants, whom she had known for years and with whom she had been friends; (3)

these statements were consistent with what the victim told her mother after the assault, the victim’s

documented physical injuries, the distress and torn clothing the victim’s mother observed

immediately after the incident, the victim abandoning her watch and underwear at the scene, and

Grabowski’s eventual admission to having oral sex with the victim; and (4) Grabowski’s denials

were not credible because he changed his story and could not account for the victim’s injuries and

torn clothing. See Doc. 1-2 at 54–62.

       Moreover, the criminal court considered Grabowski’s initial denial of having had close

physical contact or oral sex with the victim on the date in question as well as his later reversal and

statement that he became overwhelmed with desire when he walked into the room where his co-

defendant and the victim were present, and claim that that victim willingly performed oral sex on

him after declining traditional intercourse.

       Finally, the Polish court also noted that Grabowski’s family had asked the victim to recant,

and that “an essential fact in the case” was that “Grabowski’s family gave [the victim] a certain

amount of money, which was supposed to financially gratify the harm that had been suffered by

her.” Doc. 1-2 at 57.

       The Polish court heard evidence that included the victim’s initial statement, her mother’s

statement, the victim’s recantation, evidence from a medical exam of the victim’s injuries, and

physical evidence such as the victim’s torn clothing and her watch and underwear being found at

the scene of the rape and assault. That court was in the best position to make a credibility

determination and factual finding. It discredited the victim’s purported explanations for recanting,

including that she was in a state of shock and was afraid of the prosecutor, and her suggestion that


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she was under the influence of tranquilizers during the preliminary proceedings. See Doc. 1-2 at

60. Thus, a judge in the best position to review all of the evidence, including the victim’s initial

statements, recantation, and testimony and her motivations for the same, concluded not only that

there was probable cause but that Grabowski was guilty of the offenses charged.

       For all these reasons, Grabowski’s claims about how he will fare on the merits at the

extradition hearing are not a special circumstance warranting bail.

                       b.      The extradition process will not be lengthy and is not unique to
                               Grabowski

       Grabowski argues that he should be released because he will engage in a protracted fight

against extradition. See Mot. for Bail at 8–9. He argues that Poland has produced “voluminous

materials” that “will take significant time to review and analyze.” Id. at 8. Poland’s extradition

request is relatively short – 79 pages in total, approximately half of which is the English translation

of the Polish originals. Nothing is special about the length of the materials Poland has submitted.

Moreover, the materials were provided to Grabowski more than two months ago.

       Next, he argues that he “intends to raise numerous, meritorious challenges to his

extradition” and that “he will need significant time to track down and gather evidence that will

prove the falsity of the accusations.” Id. He cites only one such challenge – his argument that no

probable cause exists based on the victim’s affidavit discussed above. He has already obtained the

affidavit. Otherwise, Grabowski does not provide any other information on what “evidence” he

will gather and why gathering this evidence will lead to protracted proceedings or what challenges

he will raise. And, as discussed above, his ability to present evidence that contradicts the

extradition request is quite limited. In short, he does not provide anything resembling special

circumstances that other similarly situated subjects of extradition could not raise.

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           Finally, he states his intention “to pursue all avenues of relief, including filing a petition of

habeas corpus, appealing to the Second Circuit, and requesting relief from the State Department.”

Yet, again, despite the burden being on him to show special circumstances that are unique to his

case, Grabowski does not provide any specifics that differentiate him from any other subject of

extradition who could similarly voice an intention to “pursue all avenues of relief.”

                            c.       Grabowski’s lack of a criminal record in the United States is not a
                                     special circumstance warranting release

           Grabowski states that “[a]nother special circumstance is where a [fugitive] ‘has no prior

record and is not charged with a crime of violence.’” Mot. for Bail at 9 (citing United States v.

Taitz, 130 F.R.D. 446 (S.D. Cal. 1990)). First, while the fugitive in Taitz was merely charged with

non-violent offenses, Grabowski stands convicted of two violent offenses. Moreover, the focus of

the Taitz opinion is on the complexity of the “substantial question” whether the offense charged

“is an extraditable offense under the treaty,” id. at 445, and whether there is “diplomatic necessity

for denying bail,” id. at 446–47. 5 The Taitz court also noted three other potential special

circumstances including that “Taitz has no prior record and is not charged with a crime of violence.

There is no allegation that he is a danger to any community on the basis of violence or continuing

criminal conduct.” Id. at 446. Those two sentences were the extent of the discussion of Taitz’s

lack of a criminal record. The finding that special circumstances existed in Taitz meriting release

was not a finding that a lack of a criminal record in the United States is a special circumstance.

           The second case cited by Grabowski for the proposition that a lack of a criminal record is

a special circumstance found that the individuals whose extradition was sought – Duane Lee



5
    The apartheid government of South Africa was seeking Taitz’s extradition in 1990.


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Chapman, the star of the television show Dog: the Bounty Hunter, and family members with whom

he worked and appeared on the show – “pose[d] no danger to any community on the basis of

violence or criminal conduct” because their “livelihoods and public images rest on their

commitment to upholding the law. In re Extradition of Chapman, 459 F. Supp. 2d 1024, 1027 (D.

Haw. 2006). It did not discuss whether Chapman had a criminal record and is no way analogous

to the case at hand, where Grabowski has been convicted of two violent crimes.

       In the third case cited by Grabowski, the subject of the extradition request asserts that “his

character and demeanor amply justify release on bail. He emphasizes his marriage of seventeen

years with two children, lack of any noteworthy prior criminal record, and success as an

entrepreneur noted for integrity and honesty. To bolster his assertions regarding character and

demeanor, [the subject of the extradition request] supplied the court with eighty-five letters from

business associates and others, primarily residents of Mexico, who know him and can attest to his

character.” Nacif-Borge, 829 F. Supp. at 1220. The Nacif-Borge court concluded, however, that

his assertions “do not establish a ‘special circumstance.’” Id. Thus, it stands for the opposite

proposition of what Grabowski asserts. Grabowski’s lack of a criminal record in the United States

is not a special circumstance warranting release.

                       d.     Speculation regarding any potential effect of the COVID-19
                              pandemic on Grabowski does not constitute special circumstances

       Grabowski asserts that his health amid the global COVID-19 pandemic justifies release.

He does not present any evidence of an increased risk that he would suffer serious illness or death

were he to contract this virus. Consequently, he has not differentiated himself from other

individuals subject to extradition requests in order to show the special circumstances necessary to

warrant release on bail.

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       Since the global outbreak of COVID-19, a number of extradition courts have denied bond

on the basis that the virus is not a “special circumstance.” See In re Extradition of Taylor, No. 20-

MJ-1069-DLC, 2020 WL 3893049, at *1 (D. Mass. July 10, 2020); In re Extradition of Rollo, No.

20-80746-MC-UNA/BER, at 7 (S.D. Fla. May 28, 2020); Risner v. Fowler, 3:19-cv-03078, 2020

WL 2110579, at *7 (N.D. Tex. May 1, 2020); Flynn v. Barr, Case No. 20-60610-CIV-SMITH, at

2 (S.D. Fla. Apr. 29, 2020); Valentino v. United States Marshal, No. 4:20-CV-304, 2020 WL

1950765, at *2 (S.D. Tex. Apr. 15, 2020).

       Two broad themes arise from these cases. First, the mere possibility of contracting the

virus is not a “special circumstance.” See Risner, 2020 WL 2110579, at *7 (noting that “general

concern” of 76-year-old fugitive with history of hypertension and heart conditions “that he may

contract COVID-19 while incarcerated, while understandable, does not warrant release”);

Valentino, 2020 WL 1950765, *2 (73-year-old, hypertensive fugitive’s “general arguments based

on the pandemic, without any specific identified risks to him, do not suffice as a ‘special

circumstance’”); see also Flynn, at 2 (noting that the “[fugitive] has shown no special vulnerability

to the Corona virus while in custody . . . . Indeed, [fugitive’s] reasoning would compel release of

all inmates at the jail because there is a health crisis throughout the entire community.”).

       Second, bail is unwarranted where the fugitive’s health is not deteriorating and/or the

facility in which he is held can address his medical needs. Rollo, No. 9:20-mc-80746-UNA, at 3-

4 (COVID-19 not “special circumstance” when no evidence that jail “is unable to provide adequate

medical treatment should [fugitive] contract COVID-19”); Risner, 2020 WL 2110579, at *7

(denying bail “[g]iven the absence of evidence that [fugitive] has been exposed to COVID-19 at

FCI Seagoville, or that FCI Seagoville has any significant number of infections, and the lack of an


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evidence to show FCI Seagoville would not be able to treat [him] if he contracted COVID-19”);

Valentino, 2020 WL 1950765, *2 (finding that COVID-19 is not a “special circumstance” where

73-year-old fugitive with hypertension “does not identify any actual deterioration in his health or

any serious medical need that cannot be met at his facility during the pandemic”). 6

         In this case, Grabowski has presented no evidence that he is at an increased risk of serious

illness or death should he contract COVID-19. His Motion for Bail merely asserts that he “is a

42-year-old man who is in poor physical and mental health. Given his age and poor health, the

stress of a prolonged detention will almost surely result in a serious deterioration of [Grabowski’s]

health.” Mot. for Bail at 14. Grabowski, however, submitted no evidence suggesting he is in poor

health. Quite the contrary, the letters Grabowski submitted from his friends and family describe

an active and fit man in his early 40s who works ten or twelve hour days in a physically demanding

job before coming home to play with his kids during the week and who plays soccer with his

friends every Sunday. Neither has Grabowski alleged and provided evidence that the facility

where he is held would be unable to render adequate medical care should he contract COVID-19.

Grabowski’s alleged fears that he will contract COVID-19 do not differentiate him from other

subjects of extradition requests and do not constitute a “special circumstance.”




6
  In an opinion early on in the pandemic, one Magistrate Judge found that a 74-year old was “at risk of serious
illness or death if he remains in custody,” which constituted a special circumstance warranting release on bail.
Matter of Extradition of Toledo Manrique, 445 F. Supp. 3d 421, 422 (N.D. Cal. 2020) (decided March 19, 2020).
This decision, after emphasizing that shelter-in-place orders were imposed for the San Francisco Bay area and the
international travel bans that were imposed, which that court believed would make flight more difficult, failed to
articulate what about the fugitive – besides his age – rendered him at risk of serious illness or death if he remained in
custody.


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                       e.      Under the rule of non-inquiry, the executive branch has sole
                               authority to determine whether to proceed with an extradition to
                               Poland based on concerns regarding the fairness of Poland’s
                               judiciary

       Humanitarian claims – and, more specifically here, vague attacks on the integrity of the

Polish judicial system – are not a special circumstance that could justify granting bail. In fact, it

is unclear why it should be a consideration at all when it comes to a bail determination. The

question of whether to extradite based on the judicial integrity of the requesting state is properly

left to the executive branch and should not be considered by courts even at extradition hearings,

much less at a bail determination.

       “Under the settled rule of non-inquiry, the executive branch has sole authority to consider

. . . humanitarian considerations in deciding on extradition requests.” Noeller v. Wojdylo, 922

F.3d 797, 808 (7th Cir. 2019) (citing Hoxha, 465 F.3d at 563); see also Ahmad, 910 F.2d at 1067

(“It is the function of the Secretary of State to determine whether extradition should be denied on

humanitarian grounds.”) (citations omitted); Quinn v. Robinson, 783 F.2d 776, 789–90 (9th Cir.

1986) (noting that Secretary of State has “sole discretion . . . to refuse extradition on humanitarian

grounds”) (internal citations omitted). Once a court certifies a fugitive as extraditable, the

Secretary of State “exercises broad discretion and may properly consider factors affecting both the

individual [fugitive] as well as foreign relations in deciding whether extradition is appropriate.”

Hoxha, 465 F.3d at 563 (internal quotation marks and citation omitted).

       The rule of non-inquiry limits a U.S. extradition court from “investigating the fairness of a

requesting nation’s justice system . . . .” United States v. Kin-Hong, 110 F.3d 103, 110 (1st Cir.

1997). As the Second Circuit has held, “[i]t is not the business of our courts to assume the

responsibility for supervising the integrity of the judicial system of another sovereign nation. Such

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an assumption would directly conflict with the principle of comity upon which extradition is

based.”      Jhirad v. Ferrandina, 536 F.2d 478, 484–85 (2d Cir. 1976) (citing Factor v.

Laubenheimer, 290 U.S. 276 (1933)).

          Such issues are best left for the executive branch, “which has both final say and greater

discretion in these proceedings,” to resolve. Id. at 111; see also Noeller, 922 F.3d at 808

(explaining that the rule of non-inquiry “is intended to prevent extradition courts from engaging

in improper judgments about other countries’ law enforcement and judicial procedures” and

“serves interests of international comity by relegating to political actors the sensitive foreign policy

judgments that are often involved in the question of whether to refuse an extradition request”)

(quoting Hoxha, 465 F.3d at 563); Ahmad, 910 F.2d at 1067 (“The interests of international comity

are ill-served by requiring a foreign nation . . . to satisfy a United States district judge concerning

the fairness of its laws and the manner in which they are enforced.”).

          While Grabowski asserts that courts outside the United States have, in isolated cases, under

unknown circumstances, declined to extradite individual fugitives to Poland, the existence of any

such isolated foreign cases is not material to the determination this Court will make, at the

extradition hearing, concerning whether the elements to certify extradition for the Secretary’s

further consideration are present. See 18 U.S.C. § 3184 (requiring that if, upon conducting the

extradition hearing, the judicial officer “deems the evidence sufficient to sustain the charge under

the provisions of the proper treaty . . . , he shall certify the same, together with a copy of all the

testimony taken before him, to the Secretary of State”) (emphasis added); see also, e.g., In re

Extradition of Czerech, No. MAG 19-6763, 2020 WL 603998, at *6 (D.N.J. Feb. 6, 2020)

(certifying extradition to Poland for offense of rape).         If the Court certifies Grabowski’s


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extradition, Grabowski may submit any humanitarian concerns to the Secretary for consideration.

There is no reason, however, for this Court to usurp the role of the Secretary of State – thereby

deviating from Congressional intent, legal precedent, and the well-established rule of non-inquiry

– to entertain Grabowski’s vague suggestion that Poland’s judiciary has lost its fairness and

independence.

                       f.      An application for asylum is not a special circumstance warranting
                               release on bail

       That Grabowski plans to file, or has filed, an application for asylum is not a special

circumstance warranting bail in these proceedings. Grabowski asserts that he is applying for

asylum and suggests that the Court should not certify extradition before the immigration

proceeding concludes. A petition for asylum, however, would not preclude or stay the Court’s

certification of extradition. And again, it is unclear why an asylum application should be a

consideration at all when it comes to a bail determination pending extradition proceedings.

       As a threshold matter, the United States extradites its own citizens pursuant to its treaty

obligations with requesting countries. Asylum, or even United States citizenship, is not, by itself,

sufficient for a court to refuse to certify an extradition request. See, e.g., Mironescu v. Costner,

345 F. Supp. 2d 538, 546 (M.D.N.C. 2004) (“Individuals who have been granted an asylum are

still eligible for extradition for non-political crimes, just as even United States citizens may be

extradited for crimes committed in other countries with whom we have extradition treaties.”). In

addition, as previously stated, the Secretary of State, not a court, determines whether alleged

humanitarian concerns should preclude extradition. See Munaf v. Geren, 553 U.S. 674, 700 (2008)

(observing that, in a case seeking habeas relief from extradition, allegations that a transfer to Iraqi

custody would result in torture “are of course a matter of serious concern” but finding that “in the

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present context those allegations generally must be addressed by the political branches, not the

Judiciary”); In re Extradition of Simeonov, No. 19 CR 344, 2019 WL 2994521, at *5 (N.D. Ill.

July 9, 2019) (holding that because a fugitive’s pending asylum claim “does not relate to

certification, it must be considered by the Secretary of State, not this Court”).

       Immigration and extradition proceedings serve different purposes, and different laws and

procedures apply to them. See Castaneda-Castillo v. Holder, 638 F.3d 354, 361 (1st Cir. 2011)

(noting that “although asylum and extradition proceedings are related insofar as they both bear on

whether [a person] will ultimately be forced to return to [his home country], they are rooted in

distinct sources of law, governed by procedures specified in distinct statutory regimes, and

responsive to different sets of policy concerns”; see also Noeller, 922 F.3d at 809 (noting that it

“may often make sense” for an immigration court to stay the asylum proceeding pending the

outcome of the fugitive’s extradition case). Asylum proceedings under the Immigration and

Nationality Act are not a substitute for extradition proceedings, which address the return of

fugitives to face trial or to serve time for crimes charged by a separate sovereign. See Barapind v.

Reno, 225 F.3d 1100, 1104–05 (9th Cir. 2000) (noting that extradition “provides a separate and

independent procedure from exclusion or removal proceedings initiated under the INA for the

removal of an alien from the United States”).

       For all of the reasons provided above, the United States submits that no special

circumstances exist that would warrant granting bail in this case.

               4.      Grabowski’s argument that due process requires his release asks this Court
                       to ignore binding Supreme Court precedent

       Grabowski concludes his Motion for Bail by arguing that should he be found not to be a

flight risk, due process requires his release. Mot. for Bail at 18–20. For this bold assertion,

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Grabowski relies almost entirely on Parretti v. United States, 122 F.3d 758, 761 (9th Cir. 1997),

opinion withdrawn on reh’g, 143 F.3d 508 (9th Cir. 1998). 7 A district judge found that Parretti

was not a flight risk, but then denied bail. The Ninth Circuit panel reversed the denial “and ordered

him released on two independent grounds: first, that his arrest violated the Fourth Amendment

because the government had failed to make the required evidentiary showing of probable cause to

believe Parretti had committed an extraditable crime; and second, that his detention without bail

violated the Due Process Clause of the Fifth Amendment in light of the district court’s finding that

he was not a flight risk.” Id. at 763–64 (9th Cir. 1997). The panel’s opinion was withdrawn when

the Ninth Circuit granted rehearing en banc, and the appeal was then dismissed because Parretti,

who had been found not to be a flight risk by the district judge and who was ordered released by

the Ninth Circuit panel, fled the country. Parretti, 143 F.3d at 510.

         Granting bail on this ground would require this Court to ignore binding Supreme Court

precedent – Wright, v. Henkel, 190 U.S. 40 (1903), which established the presumption against bail

based on the obligation of the United States to deliver, after he is apprehended, the person sought

by a foreign government pursuant to a valid treaty. Grabowski asks this Court to ignore Wright

because, as Grabowski describes it, the Supreme Court’s decision is “dated.” Mot. for Bail at 19.

The Supreme Court has had more than 100 years to reconsider Wright and has not done so, and

this Court must follow that valid, binding precedent.




7
 It should be noted that Parretti was arrested pursuant to a diplomatic note from France requesting his provisional
arrest, not pursuant to a formal extradition request. Id.


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                                               CONCLUSION

         For the foregoing reasons, the United States requests that Grabowski be detained until the

conclusion of the extradition process. 8



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8
  Should, however, the Court be inclined to grant bail in this case, the United States respectfully requests that the Court
submit special written findings as to those specific matters that are found to constitute “special circumstances.”
Moreover, in order to protect the ability of the United States to meet its treaty obligations to the Government of Poland,
the United States also requests that the Court notify the parties within a reasonable amount of time in advance of any
contemplated release order.


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